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                                   8                                      UNITED STATES DISTRICT COURT

                                   9                                     NORTHERN DISTRICT OF CALIFORNIA

                                  10                                            San Francisco Division

                                  11        UNITED STATES OF AMERICA,                         Case No. 20-cr-00249-RS (LB)
                                  12                        Plaintiff,
Northern District of California




                                                                                              DISCOVERY ORDER
 United States District Court




                                  13                   v.
                                                                                              Re: ECF No. 215
                                  14        ROWLAND MARCUS ANDRADE,
                                  15                        Defendant.

                                  16

                                  17         This order addresses the dispute in ECF No. 215. The court held a hearing on November 2,

                                  18   2023. The dispute is about whether the government has produced an image of Alexander Levin’s

                                  19   phone. 1 The court previously ordered its production. 2 The government now says that it cannot

                                  20   produce information that is outside the scope of the search warrant. 3 It previously offered to

                                  21   produce an image subject to an AEO designation. 4 These positions seem inconsistent. In any

                                  22   event, the government did not raise these objections previously, arguing only that the information

                                  23   was not relevant. Citing the full legal standards under Brady v. Maryland, 373 U.S. 83, 87 (1983),

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                                         Mot. – ECF No. 215 at 2. Citations refer to the Electronic Case File (ECF); pinpoint citations are to
                                  26   the ECF-generated page numbers at the top of documents.
                                       2
                                           Order – ECF No. 165 at 11.
                                  27   3
                                           Opp’n – ECF No. 220 at 4.
                                  28   4
                                           Id. at 3.

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                                   1   and its progeny, and Federal Rule of Criminal Procedure 16(a)(1)(E), the court ordered the

                                   2   government to produce an image of the phone. 5 The court does not repeat the standards: instead it

                                   3   incorporates its earlier order fully by this reference. 6

                                   4         The court orders the following. First, within fourteen days, the government must produce any

                                   5   information that it seized from the Levin phone that was identified in the search warrant. The

                                   6   government said it has done so already. 7 If so, it need not reproduce any previously produced

                                   7   information. Second, by November 9, 2023, the government must update the court with its

                                   8   position about returning an image of the phone to Mr. Levin. If it does, then Mr. Andrade can then

                                   9   subpoena information from the phone. Mr. Levin is free to resist that subpoena.

                                  10         IT IS SO ORDERED.

                                  11         Dated: November 5, 2023

                                  12                                                      ______________________________________
Northern District of California
 United States District Court




                                                                                          LAUREL BEELER
                                  13                                                      United States Magistrate Judges
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                                           Id. at 4.
                                  27   6
                                           Order – ECF No. 165.
                                  28   7
                                           Opp’n – ECF No. 220 at 4.

                                       ORDER – No. 20-cr-00249-RS (LB)                      2
